
14 So.3d 1281 (2009)
Joaquin TAMAYO, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D08-1149.
District Court of Appeal of Florida, Third District.
July 8, 2009.
Carlos J. Martinez, Public Defender, and Shannon P. McKenna, for appellant.
Bill McCollum, Attorney General, and Rolando A. Soler, Assistant Attorney General, for appellee.
Before GERSTEN, SUAREZ, and CORTIÑAS, JJ.
PER CURIAM.
Affirmed. See State v. Pereira, 967 So.2d 312, 314 (Fla. 3d DCA 2007).
